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      IN THE UNITED       STATES   DISTRICT  COURT     FOR :r~~~~j~TNO
                                      MARYLAND             c-


GEORGEC. HARRIS,                    I
                                                               ZOOS
                                                                  AUG2b   P}'      28
P.O. Box 127                        )
Cheltenham,MD 20623,                )

and                                                            R                   TV
                                    )
DORIS J. HARRIS
P.O. Box 127
Cheltenham,MD 20623,
                                    )
               Plaintiffs,          )
        v.                          )      Civil Action No.:


EXPERIAN INFORMATION
SOLUTIONS,INC.,
505 City ParkwayWest
Orange,CA 92668
Serve: The CorporationTrust
       Incorporated
       300 EastLombardStreet
       Baltimore,MD 21202           )
                                    )
               Defendants.          )
                                    )

                                    COMPLAINT

       Comes Now Plaintiffs George C. Harris and Doris J. Harris by and through

undersigned counsel and respectfully submits this Complaint. In support thereof,

Plaintiffs stateas follows:




                                          I.
                                        Parties
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       Plaintiff George C. Harris is a domiciliary of the State of Maryland. He is

married to Plaintiff Doris J. Harris, who is also a domiciliary of the State of Maryland.

Together they are referred to herein as the "Harrises" or Plaintiffs     Mr. Harris in his

fonner employment held very high security clearances associated with his positions. He

is presently unable to hold positions which require such clearancesbut for the conduct of

the Defendants as hereafter described. Mr. Harris was also previously employed by the

United StatesNavy and is now retired.

2.      Defendant Experian lnfonnation Solutions, lnc           ("Experian") is an Ohio

Corporationthat doesbusinessin the Stateof Maryland Experianis a "credit reporting

agency" as the term is defined in 15 V.S.C. § 1681a(f). Upon information and belief,

Experian prepares and furnished consumer reports to third parties by means and facilities

of interstate commerce.

                                            II.

                                        Jurisdiction

3      This Complaint allegesviolations of the Fair Credit Reporting Act (15 U.S.C.S.

§§1681et seq.). Plaintiffs' Complaint raisesa federalquestionarising underthe law of

the United States This Court hasjurisdiction pursuant to 28 U.S.C.S. §1331.




                                            III.

                                           Facts

4       On March 24, 2000, the Harrisesrefinancedtheir home by taking out a second

mortgage loan at Bank of America, N.A. ("BOA'~         The principal amount of the loan was



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$61, 227.00and the rate of intereston the loan was eleven(1     percent. The BOA loan
number for this transaction was 311002699699 (referred to herein as "the original loan

number").

5      After receiving the loan, the HaITises received consolidated bank statements and

loan payment books in the original loan number on those documents.

6.     Effective May 20, 2002 and unbeknownto the Harrises,BOA changedthe loan

number on the HaITises loan when BOA began utilizing new software for its computer

systems. The new loan number was 7011689713 (referred to hereinafter as the "new loan

number"). BOA, however, did not notify the Harrises of the change nor did it send them

a new loan payment book. In an effort to meet the obligations under the mortgage, either

Mr. or Mrs. Harris would travel to the BOA branch offices in Upper Marlboro, Maryland

to make payments in person. The branch, however, regularly refused to accept the funds

since the Harrisesdid not have the new loan number and the teller could not post the

mortgage payment to the loan account. (Apparently, the old loan number was not cross

referencedto the new loan number and the Harrises did not know that the new loan

number even though the Harrises brought coupons with the old loan number on them.:

This continued for four (4) months.

7.     As a result of the forgoing, BOA reportedthat the loan, as registeredin BOA's

records by the new loan number, was not being paid according to its terms.

Notwithstanding, the Hauises never received any communication, either written or oral,

from BOA infonning them that the loan paymentswere late. Despite attemptsby the

Harrises to cure the problem by telephone, at first, on approximately a weekly and then

monthly basis, the Harrises could not cure the problem.



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8.     On or about December 27, 2002, United Guaranty Residential Insurance

Company ("United Guaranty") sent a letter to Mr. and Mrs. Harris informing them

United Guaranty "has paid Bank of America the balance due on [their] second mortgage'

and that the loan was assigned to United Guaranty. According to United Guaranty, the

amount of the debt assigned was $60,890.54.

9.     Even though United Guaranty purchased and paid "the balance due" on the loan,

on or about December27, 2002, BOA claimed that the Harrisesowed BOA $4,509.03

This was disclosedto the Harrisesby an elevenpm telephonecall from BOA. This was a

false claim. Once the Harrisesdiscoveredthat BOA was reporting the false claim, the

Harrises repeatedlytried for severalmonths to have BOA correct the error; however,

BOA repeatedly refused to acknowledgeor correct the mistake even though it was

continuallybrought to BOA's attention

10.    On January8,2003, BOA sentMr. and Mrs. Harris a letter infonning them that

"Bank of America hasassigned,or is the processof assigningthe [Harris] loan to United

Guaranty." The letter refers to the new loan numberand informs the Harrisesthat "all

future correspondence
                    shouldbe directedto United Guaranty"once they receivewritten

notification from Untied Guarantyregardingits purchaseof the mortgageloan.

11.    On January16,2003, United Guarantysentthe Harrisesa Statementof Account

("Statement"). The Statementset forth the debt that the Hanoisesthen owed United

Guaranty. The Harrisescalled United Guarantyfor the total amountowed to them in

order to bring the accountcurrent United Guarantyadvisedthe Harrisesof the balance

by mail. The Harrisesthereuponpaid the arrearages.Thereafter,the Harrisesmadethe




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required installment loan paymentsto United Guaranty and remained current on all

paymentsdue underthe loan

12     From on or about December27,2002 through June2004, both BOA and United

Guarantyprovided credit reporting agencieswith inaccurateand incorrect infonnation

regarding the Harris' loan.

13.    On or about July 29. 2003. the Harrises notified Experian that the infomlation that

BOA and United Guarantyprovided was inaccurate. On or about August 22, 2003, the

Harrises notified Equifax lnfoTn1ation Services, LLC, :"Equifax") Experlan and

TransUnion, all of which are consumer reporting agencies, that the information BOA and

United Guaranty provided was inaccurate.

14.    In a April 2004 credit report producedby Experian,it was reportedinaccurately

and incorrectly the United Guarantyloan was openedin "3-2000", the monthly payment

amount was "0" and the "status.. of the loan was "Collection account" even though

United Guarantydid not obtain the loan until January2003 andthe Harrisespaid monthly

installmentson the loan.

15      On or about May 20, 2004, the Harrisesrefinancedtheir home and paid off the

loan held by United Guarantyin full. This was done at a rate of interest abovemarket

becauseof the wrongfully impairedcredit rating causedby the Defendants.

16.     Through June2004, Experiancontinuedto report inaccuratelywith respectto the

United Guaranty account. For example,in June 2004, the following information was

inaccurately and incorrectly reported in an Experian credit report:




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           a. The account was a "collections account" even though the accountwas

               never in collections and the Harrisespaid all installmentsof this account

               timely sinceUnited Guarantyassumedresponsibilitiesfor the loan; and

           b. That the loan was in "collection asof 5-2004."

17.    The Harrisesallegeupon information and belief that Experiansentan Automated

ConsumerDispute Verification FOffil (" ACDV") to United Guarantyin responseto the

Harrises July 29, 2003, complaint. The Harrises further allege upon information and

belief that United Guarantyreportedon August 7, 2005, that the Harrises' version of the

disputewas correct,i.e., that their accountwith United Guarantywas current. However,

Experian did not correct its credit reports. In fact, Experian incorrectly reported on

September16, 2003, that the status of the United Guaranty account was: "Collection

account"and "This item wasverified on 8-2003andremainedunchanged."

18.    The Harrisesallegeupon infonnation and belief that Experiandid not forward to

BOA and/or United Guarantydisputesthat they raised with respectto the reporting of

their accounts,including, but not limited to respondingto their August 22, 2003,letters.

19.    The Harrisesallege upon infonnation and belief that Experiancontinually failed

to accuratelyreport informationthat it receivedfrom BOA and/orUnited Guaranty.

20.    As a result of the foregoing the Harriseshave been injured and are entitled to

damages.The injuries sustainedby the Harrisesinclude,but arenot limited to:

           a. Denial of credit;

          b. Reduction of credit in existing credit accounts;

          c. Loss if income due to the inability to refinancetheir mortgagefrom the

              11% rate charged first by BOA and then by Untied Guaranty;



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            d. Loss of income due to the increasedinterest rates on existing credit

                 accounts;

            e. Damage to professional reputation;

            f.   Loss of employment opportunities, including the inability to secure

                 positionsat Home Depot and Searsfollowing credit examination;

            g. Damageto their home as a result of being unable to conduct necessary

                 repairs;

            h. Lossof quality of life, including emotionalstressandtrauma;and

            1. The incursionof attorneys'fees.

                                            IV

                              FIRST CAUSE OF ACTION

      Violation of the Fair Credit Reportio2 Act. 15 V.S.C. § 1681 bv Experiao.

21.    The Harrisesincorporateall factual allegationscontainedin paragraphs1 through

20 aboveasif fully set forth herein.

22.    Experianviolated 15 V.S.C. §1681i(a)on multiple occasionsby:

       a.        failing to deleteinaccurate,incompleteor unverifiable information in the

       Harrisescredit file after receivingactualnoticeof suchinaccuracies;

       b.        failing to delete inaccurate,incompleteor unverifiable information in the

       Harrises credit file after conducting a reinvestigation into the representations

       madein the credit file;

                 failing to provide notification to BOA and/orUnited Guarantyof disputes

       that the Harrisesbroughtto the attentionof Experian;and




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       c.      failing to maintain reasonableprocedureswith which to filter and verifify

       disputedinfomlation in the Harrises'credit file.

23.    As a direct and proximate causeof DefendantExperian's conduct, action and

inaction and the inclusion of false, inaccurate and/or misleading infonnation in the

Harrises' credit reports, the Harriseswere banned and entitled to damagesas detailed

below. The Harrises' injuries were the foreseeableconsequences
                                                             of Experian'sconduct,

action and inaction

24.    Experian'8 conduct, action and inaction were willful, rendering it liable for

punitive damagesin an amountnot lessthan $375,000pursuantto 15 U.S.C. § 1681n.

25.    Altematively~Experian~sconduct~action and inaction were negligent, entitling

the Harrisesto recoverdamagesunder 15 V.S.C. § 16810.



       WHEREFORE,the Harrisesrequestthat this Court awardthe following damages:

            a. Actual damagesin the amountof $625,000;

            b. Punitive damagesin the amountof not lessthan $375,000;

            c. The Harrises'attorney'sfees;and

            d. Any other relief this Court deemsproper.




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                    DEMAND FOR JURY TRIAL

Plaintiffs herebydemanda trial by jury for all issuesraisedin this Complaint.




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                             Doris J. Harris, Plaintiffs




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